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 7   MARCELLE BANAGA
 8                                UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

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12                                                         CASE NO.: 2:15-CR-00235-TLN
      UNITED STATES OF AMERICA
13
            PLAINTIFF                                      STIPULATION TO CONTINUE
14                                                         JUDGMENT AND SENTENCING
15                                                         HEARING; ORDER

16     MARCELLE BANAGA
17                     DEFENDANT
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21                                          I.      STIPULATION
22   Defendant Marcelle Banaga by and through his counsel of record and plaintiff United States of

23   America, by and through its counsel of record hereby stipulate as follows:

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            1. By previous order, the judgment and sentencing hearing for Mr. Banaga is currently set for
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     November 8, 2018.
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                                                       1
28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 353 Filed 10/17/18 Page 2 of 3


 1           2. By this stipulation, the parties jointly request that the judgment and sentencing hearing in
 2   this matter be continued to January 31, 2019 at 9:30 a.m., and that the dates for preparation of the

 3   sentencing memoranda be reset based on the sentencing date of January 31, 2019.

 4
             3. The continuance request is due to Mr. Banaga’s need for additional time to resolve legal
 5
     matters in Romania.
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 8           Dated: October 14, 2018

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                                                                     /s/ Alin D. Cintean
10                                                                   Alin D. Cintean
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13                                                                   /s/ Michael M. Beckwith
                                                                     Michael M. Beckwith
14                                                                   Assistant United States Attorney
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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
               Case 2:15-cr-00235-TLN Document 353 Filed 10/17/18 Page 3 of 3


 1
                                                     ORDER
 2
     This matter came before the Court on the parties' stipulation to request a continuance of the judgment and
 3
     sentencing hearing for defendants Marcelle Banaga. For the reasons stated above, and good cause
 4   showing, the Court GRANTS the parties' request and CONTINUES the judgment and sentencing hearing
 5   to January 31, 2019 at 9:30 a.m. The dates for the preparation of the sentencing memoranda are RESET

 6   based on the sentencing date of January 31, 2019.

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     IT IS FURTHER ORDERED THAT defendant Banaga shall personally appear on January 31, 2019 at
 8
     9:30 a.m. in this Court.
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10   IT IS SO FOUND AND ORDERED this 17th day of October, 2018.

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14                                                    HONORABLE TROY L. NUNLEY
15                                                    UNITED STATES DISTRICT COURT JUDGE

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28   STIPULATION TO CONTINUE
     JUDGEMENT AND SENTENCING, ORDER
